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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    JENZIGN LICENSING, LLC, a New                     Case No.: 20-cv-1064 JLS (AGS)
      York company
12                                                      ORDER VACATING HEARING
13                                     Plaintiff,
                                                        (ECF No. 13)
14    v.
15    BEBE STORES, INC., a California
      corporation; and ZIGI USA LLC,
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      Florida limited liability company,
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                                    Defendants.
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20         Presently before the Court is Defendant’s Motion to Dismiss or Enforce Forum
21   Selection Clause. (ECF No. 13.) On its own motion, the Court VACATES the hearing
22   scheduled for November 12, 2020 at 1:30 p.m. and takes the matter under submission
23   without oral argument pursuant to Civil Local Rule 7.1(d)(1).
24         IT IS SO ORDERED.
25   Dated: November 5, 2020
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                                                                              20-cv-1064 JLS (AGS)
